The plaintiff has recovered damages for an assault and battery committed upon his person by one of the defendant's conductors on the 16th day of November, 1900, when the plaintiff was in one of the defendant's cars as a passenger from Oriskany to Utica. There is little, if any, dispute about the facts. It appears that on the day mentioned the plaintiff went to the defendant's station at Oriskany to take passage upon the local train to Utica. The office for the sale of tickets located at the station was open for an hour before the departure of the train, but from five to ten minutes before the train pulled out the ticket agent was absent from the office, as he was obliged to pass over on the opposite side of the track, a short distance, to look after an express package, and before he returned the train pulled out and the plaintiff entered one of the cars without any ticket. We must assume from the verdict of the jury that the plaintiff boarded the car without a ticket for the reason that the ticket agent was absent from the office from five to ten minutes before the train started, and, therefore, the plaintiff was unable to procure a ticket. Two other passengers entered the train at the same station, but both of them had procured tickets. Soon after leaving the station the conductor passed through for the purpose of taking up the tickets. The two other passengers who entered the train at the same station handed him their tickets, but when he came to the plaintiff he was told that as the office was closed he had no ticket. *Page 284 
The plaintiff then tendered fifteen cents to the conductor as the fare to Utica, but the conductor told him that the fare was nineteen cents when the person had no ticket. The plaintiff replied that the ticket office was not open and he could not get a ticket and that he would pay the price of a ticket, but no more. The conductor again told him that the fare was nineteen cents, and demanded that amount, telling him at the same time that if he did not pay it he must get off at the next station, and the plaintiff's answer was, "I will pay the New York Central Company all the law allows them." On arriving at the next station the plaintiff, in response to a similar request, refused to pay the nineteen cents, but offered to pay fifteen cents. When the plaintiff refused to pay the sum demanded, the conductor stopped the train at the station and put him off. The plaintiff resisted the conductor, but he was overpowered and finally removed from the car, the conductor using no more force than was necessary. The plaintiff then took a street car to Utica, the fare being ten cents. The conductor inquired of the other passengers who entered the car at Oriskany if they had purchased their tickets at the station that morning and they told him that they had, but at the same time they corroborated the plaintiff's statement that the ticket agent had stepped out of the office and across the track a short time before the train started. The removal of the plaintiff from the car in the manner and under the circumstances stated is the assault and battery of which he complains and for which he recovered the damages. The right of the plaintiff to recover was challenged by defendant's counsel, by a motion at the close of the case and by requests to charge, all of which were denied or refused by the learned trial judge, and exceptions taken.
This case presents the question whether the plaintiff had any right to resist the conductor when he was ordered to leave the train. The right of the conductor to remove a passenger from the car when the latter refuses to obey the reasonable rules and regulations of the company, and the right of the passenger to resist the enforcement of such rules by force, *Page 285 
cannot exist at the same time. When such claims come in conflict with each other every reasonable man will agree that there are certain principles so obviously just that when applied to the facts of the particular case will work a fair solution of the question in controversy. The rule of the company that required the conductor to collect nineteen cents from the passenger who did not purchase a ticket is concededly a valid and reasonable regulation. It is sanctioned by the terms of an express statute and the duty of the conductor was to enforce it and, therefore, it was the duty of the passenger to submit to it. A person who becomes a passenger in a public conveyance must subordinate his conduct to all rules that are reasonable and valid. Without such rules the corporation will not be able to perform the functions for which it was created. In the present case no one questions these propositions, but what is asserted in behalf of the plaintiff is that, behind these reasonable regulations there was a fact which rendered them inoperative or inapplicable to him, and that was the fact that the ticket agent was not in his office when the train started and in consequence of his absence the plaintiff was unable to procure a ticket. But the conductor could not know what the fact was in that respect and was not bound to take the passenger's word for it, nor could he try and decide the question upon the word of the other passengers who procured tickets at the same station. The simple duty of the conductor is to execute and enforce all reasonable rules and that of the passenger is to obey them. If there is some fact or omission behind the rules not apparent upon the face of the transaction the passenger must resort to some other remedy for his grievance besides the use of force against the conductor, and if under such circumstances he invites a personal collision with the officer in charge of the train, resulting in his forcible expulsion, he puts himself in the wrong and cannot sue the company or the officer for assault and battery. In this case the plaintiff acted upon the principle that if he could ultimately prove that the ticket office was not open when the train started and that he could not procure a ticket, *Page 286 
he had the right to refuse to pay the nineteen cents and to resist the conductor by force when he attempted to put him off. It would be difficult to show that such a principle has any support in reason, justice or authority. It is based upon the notion that the plaintiff had the right to be the judge in the controversy and to enforce what he deemed to be his rights with the strong arm, and, if worsted in the struggle, to sue the railroad for assault and battery. That, I think, is not the law. When a railroad company willfully exacts from a passenger more than the legal rate of fare, the latter may sue the company under the statute for the penalty of fifty dollars and the excess of fare, besides the damages that he may sustain in consequence of the wrongful act. But, as in this case, when the conductor demands only what he has the right to demand by the statute and rules of the company, the passenger is not at liberty to assert and maintain by force some right that he may claim which grows out of facts not within the knowledge of the conductor and which may render the rules inoperative or inapplicable. He is bound for the time being to yield to the reasonable practice and requirements of the officer in charge of the train and enforce any right that he may have against the company in some other and more proper way. By paying such a demand his cause of action is just as complete as if he forcibly resisted the demand and suffered himself to be ejected. His ejection in such case will add nothing to his cause of action.
It would be an absurd and intolerable rule of law that would permit passengers upon a railroad to resist the officer in charge whenever a dispute arose in regard to some trivial matter wherein the passenger had a real or fancied grievance. When the plaintiff was told that he must, under the rules, pay the nineteen cents or leave the car, it was his duty either to pay the extra four cents or leave and resort to the remedy which the law gave for the redress of his grievance. The conductor could not suspend the rule merely because he was told that the passenger could not procure a ticket before the train started, and when notified by the conductor that removal *Page 287 
from the train must follow his refusal to pay he had notice of the rule and the consequence of his disobedience to it. When he waited for the application of force to remove him he did so in his own wrong. He virtually invited all the force necessary to remove him, and, since no more was applied than was necessary to effect the object, he cannot recover either against the conductor or the defendant in an action for assault and battery. (Townsend v. N.Y.C.  H.R.R.R. Co., 56 N.Y. 295.) No case has been cited that sustains the proposition contended for by the learned counsel for the plaintiff, and that is that the plaintiff had the right to resist the conductor by force, on the ground that he was unable to procure a ticket. There are cases where damages were recovered for ejecting a passenger from the train. Such was the case of English v. D.  H. Canal Co. (66 N.Y. 456), where it was found that the conductor used more force than was necessary, and the proof tended to show that the train was in motion at the time, and, therefore, the law of self-preservation justified the passenger in repelling any attempt to eject him which would endanger his life. The case of N.Y., L.E.  W.R.R.Co. v. Winter (143 U.S. 60) justifies resistance in a case like this, only so far as may be sufficient to denote that the passenger gets off by compulsion and not voluntarily.
The cases in other jurisdictions are to the effect that in a case like this the passenger must submit to the inconvenience of either paying the fare demanded or ejection, and rely upon his remedy against the company for the negligence or mistake of the ticket agent. The conductor cannot decide from the statement of the passenger, or his neighbors, what the facts are which may affect the operation of the rules. This would require more time than the conductor can find in the proper discharge of his duties, and would expose the company to numerous and constant frauds. (Bradshaw v. S.B.R.R. Co., 135 Mass. 407; Frederick
v. M.H.  O.R.R. Co., 37 Mich. 342; Shelton v. L.S.  M.S.Ry. Co., 29 Ohio St. 214; Dietrich v. Penn. R.R. Co., 71 Pa. St. 432; C., B.  Q.R.R. Co. v. Griffin, 68 Ill. 499;Pouilin *Page 288 
v. Can. Pac. Ry. Co., 52 Fed. Rep. 197; Hall v. M.  C.R.R.Co., 15 Fed. Rep. 57; Wiggins v. King, 91 Hun, 343.)
The question always is in controversies of this character whether it is the conductor or the passenger that is in the wrong. If in this case it be the conductor, it must be because he should have disregarded the rules of the company upon the faith of the statement of the passenger and his neighbors that the ticket agent was absent from the office. On the other hand, it must be that the passenger, finding that the ticket agent, at a rural station where few tickets are sold, stood at the window ready to hand out tickets for only fifty instead of sixty minutes, was justified in starting a dispute with the conductor which involved only four cents more than he offered to pay, resulting in a personal collision or trial of strength and force and ending in his expulsion from the train. It seems to me that when a passenger defies the authority of the officer in charge, upon such grounds and under such circumstances, he must be held to have deliberately invited and procured the assault of which he complains. In the interests of peace and good order the law imposed upon the passenger the duty of obedience, and hence he should have either paid the four cents or left the car under protest and then resorted to those peaceful remedies which the law provides in cases of wrongful or oppressive acts on the part of the railroad.
The law imposes upon the individual the duty of obedience, under all circumstances, to lawful authority, and if, underlying the authority, there may be a question of fact which renders the exercise of it unlawful, it is not for the party himself to decide that question and resort to violence or forcible resistance. The remedy is to appeal to the regular tribunals for the redress of any wrong or injury that he may have sustained in consequence of his enforced obedience to the regulation which he claims was not, for some reason, applicable to him under the circumstances.
We have, of course, no reference here to cases where personal rights or privileges may be invaded without jurisdiction or warrant of law, but to cases that in some sense are analogous *Page 289 
to that of an officer who is called upon to execute process regular upon its face, though behind the process there may be some fact which would justify the decision that it was absolutely void. In such cases the individual affected must, for the time being, yield to the process and resort to proper proceedings to set it aside or to redress the injury.
For these reasons I think the judgment should be reversed and a new trial granted, costs to abide the event.